                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 JOSHUA JARRETT, et al.,

         Plaintiffs,                              Case No. 3:21-cv-00419

 v.                                               Judge William L. Campbell, Jr.
                                                  Magistrate Judge Alistair E. Newbern
 UNITED STATES OF AMERICA,

         Defendant.


                                             ORDER

        Based on the briefing schedule proposed by the parties (Doc. No. 39), the United States

will file a motion to dismiss on February 28, 2022. (Doc. No. 39.) Any response in opposition to

the motion to dismiss will be filed by March 14, 2022. Any optional reply shall be filed by March

21, 2022.

        Any filings made related to the motion to dismiss, including motions for extensions of time

or to exceed page limits, shall be decided by Judge Campbell unless referred to the undersigned

Magistrate Judge.

        It is so ORDERED.



                                                     ____________________________________
                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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